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                                                            FILED: February 8, 2023

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

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                                       No. 23-1059
                                     (10-CC-276241)
                                     (10-CE-271046)
                                     (10-CE-271053)
                                     (10-CC-276207)
                                     (10-CE-276221)
                                     (10-CC-276208)
                                     (10-CE-271047)
                                     (10-CE-271052)
                                     (10-CE-276185)
                                  ___________________

        SOUTH CAROLINA STATE PORTS AUTHORITY

                    Petitioner

        THE STATE OF SOUTH CAROLINA; UNITED STATES MARITIME
        ALLIANCE, LTD.

                    Intervenors

        v.

        NATIONAL LABOR RELATIONS BOARD

                    Respondent

        INTERNATIONAL LONGSHOREMEN'S ASSOCIATION, LOCAL 1422

                    Intervenor
USCA4 Appeal: 23-1059     Doc: 30        Filed: 02/08/2023       Pg: 2 of 2


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                                            ORDER
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              Upon consideration of submissions relative to the motion to intervene filed by

        United States Maritime Alliance, Ltd., the court grants the motion. The parties are

        directed to file a proposed briefing schedule, including proposed length limitations,

        within 7 days of the date of this order.

                                                   For the Court--By Direction

                                                   /s/ Patricia S. Connor, Clerk
